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Attorney for Defendant
TROY MATTHEW GARLAND

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Case No. 21-CR-01362-H

vs, aint NOTICE OF MOTION FOR
WITHDRAWAL OF DOCUMENT
TROY MATTHEW GARLAND,
Defendants.

 

Request is hereby made for leave to withdraw Motion for Reconsideration of Bail,

Document #26 without prejudice.

Dated: July 7, 2021 /s/ Nicholas De Pento
NICHOLAS DE PENTO, ESQ.

 

 

 

 

 
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CERTIFICATE OF SERVICE

Counsel for Defendant certifies that the foregoing pleading is true and accurate to
the best of knowledge and belief, and that a copy of the document has been served this day

 

upon:
Nicholas De Pento depentolaw(@sbcelobal net
Shital Thakkar Shital. Thakkar@usdoj.gov
July 7, 2021 /s/ Nicholas De Pento

NICHOLAS DE PENTO, ESQ.
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